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                                               Appendix A: Statements Alleged to Be Fraudulent1

    CS       CC ¶        Date           Source                               Challenged Statement (“CSs”)                                        Reasons Not
    No.                                                                                                                                          Actionable
      1       94       11/9/23      Press Release       The growth seen in this quarter, as well as the past year, has been                    No false statement
                                    re Q3 2023          fueled by a combination of our strategic investments and                                of fact
                                    Financial           partnerships, our differentiated approach to advertising solutions,
                                                                                                                                               Puffery
                                    Results             as well as a set of market dynamics which have been highly
                                                        beneficial to our position in the industry. We have capitalized on                     Non-actionable
                                                        the shift in ad spend towards digital media on both the sell- and                       opinion
                                                        buy-side and will continue to grow our presence in the space
                                                        through our recent partnerships and advancements of our
                                                        technology stack. We remain committed to executing on the same
                                                        growth and investment initiatives that led us to the strong third
                                                        quarter results we are reporting today.
      2       95       11/9/23      Press Release       Assuming the U.S. economy does not experience any major                                No actionable
                                    re Q3 2023          economic conditions that deteriorate or otherwise significantly                         omission
                                    Financial           reduce advertiser demand, we are increasing our previously issued
                                                                                                                                               Non-actionable
                                    Results             estimate as disclosed in our second quarter 2023 update:
                                                                                                                                                opinion
                                                             For fiscal year 2023, we expect revenue to be in the range of
                                                                                                                                               Forward-looking
                                                              $170 million to $190 million, or 101% year-over-year growth
                                                                                                                                                statement
                                                              at the mid-point.
                                                        “We are thrilled to announce the raising of our fiscal year 2023
                                                        revenue guidance to $180 million at the midpoint, a 101% increase
                                                        over full-year 2022 results. This increase reflects our belief in our
                                                        ability to execute on our various growth strategies, demonstrates
                                                        the strength of our operating leverage and highlights the favorable
                                                        market trends that we expect to continue for the remainder of this
                                                        year,” commented Diana Diaz, Chief Financial Officer.


1
    Bolding and italics are as they appear in the CC. Where the CC only excerpts from a Challenged Statement, the chart quotes the Challenged Statement in full.
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CS    CC ¶    Date        Source                         Challenged Statement (“CSs”)                                Reasons Not
No.                                                                                                                  Actionable
 3     97    11/9/23   Q3 2023         In the advertising industry, inventory quality is assessed in terms of      No false statement
                       Form 10-Q       invalid traffic (“IVT”) which can be impacted by fraud such as               of fact
                                       “fake eyeballs” generated by automated technologies set up to
                                                                                                                   No actionable
                                       artificially inflate impression counts. As a result of our platform
                                                                                                                    omission
                                       design and proactive IVT mitigation efforts, in the nine months
                                       ended September 30, 2023, we determined that approximately 1%
                                       of inventory was invalid, resulting in minimal financial impact to
                                       our customers. We address IVT on a number of fronts, including
                                       sophisticated technology, which detects and avoids IVT on the
                                       front end; direct publisher and inventory relationships, for supply
                                       path optimization; and ongoing campaign and inventory
                                       performance review, to ensure inventory quality and brand
                                       protection controls are in place.
 4     99    11/9/23   Earnings Call   On that topic, for the remainder of 2023, we believe our                    No false statement
                       re Q3 2023      technology strategy, infrastructure and operational investments              of fact
                       Financial       will continue to bear fruit as we make considerable progress with
                       Results         our server transitions as well as our overall re-platforming.               Puffery
                                                                                                                   Non-actionable
                                                                                                                    opinion
                                                                                                                   Forward-looking
                                                                                                                    statement




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CS    CC ¶    Date        Source                         Challenged Statement (“CSs”)                                  Reasons Not
No.                                                                                                                    Actionable
 5     99    11/9/23   Earnings Call   [Defendant Walker:] . . . . Historically, Q4 has been our strongest           No actionable
                       re Q3 2023      quarter, and we expect to see favorable market dynamics with an                omission
                       Financial       increase in media spend being targeted to reach both general and
                                                                                                                     Puffery
                       Results         multicultural audiences. Consequently, we’re revising our full year
                                       2023 revenue guidance upwards to a range of $170 million to                   Non-actionable
                                       $190 million.                                                                  opinion
                                       By removing the aforementioned warrant overhang, executing on                 Forward-looking
                                       our re-platforming strategy and continuing our operational                     statement
                                       excellence, we believe we will pave a way for growth in our stock,
                                       valuing Direct Digital Holdings at a similar level to our peers.
 6    100    11/9/23   Earnings Call   [Analyst:] . . . I just – I’ll ask just in Q4, thank you for Q4 being up      Puffery
                       re Q3 2023      sequentially from Q3. There’s – The Trade Desk is out talking
                                                                                                                     Non-actionable
                       Financial       about some cautiousness in Q4 that stabilized in a little rough in
                                                                                                                      opinion
                       Results         October, stabilized in November. And I’m just –the momentum
                                       you’re seeing seems like it’s continuing, especially if your
                                       guidance history is evident here, too, but just kind of curious
                                       what you’re seeing in conversations right now relative to the
                                       broader macro.
                                       [Defendant Walker:] Yes. For the broader macro, and I think
                                       you’ve seen it in our revision upwards of our guidance and the
                                       conversations we have. If we weren’t confident, we wouldn’t have
                                       revised up the way that we did, but we are pretty confident in the
                                       relationships that we’ve been able to build and the platform that
                                       we’ve been able to establish and the growth that we actually have
                                       on our road map. So we are still bullish on our business, even
                                       though some of our peers might be having some other difficulties,
                                       but we are really confident in the model that we’ve been able to
                                       build here at Direct Digital.




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    CS    CC ¶        Date            Source                               Challenged Statement (“CSs”)                                         Reasons Not
    No.                                                                                                                                         Actionable
     7     102       12/5/23     2023 Noble           What originally happened, probably about two years ago, Apple                          No false statement
                                 Capital              said they’re going to stop sending cookies on their devices and then                    of fact
                                 Markets 19th         now Google has also due to the DOJ and other reasons has said
                                                                                                                                             No actionable
                                 Annual               they’re going to phase out cookies starting in 2024.
                                                                                                                                              omission
                                 Emerging             We actually during the month of November/December have
                                 Growth               actually already started working on that, and so since it is the
                                 Equity               currency–it’s – think about it like Bitcoin. If someone stops trading
                                 Conference           on the US dollar and they start trading on Bitcoin or Dogecoin or
                                                      other coins that’s going to be the currency that people actually
                                                      recognize.
                                                      So what we’re doing to prep for that is there’s a significant amount
                                                      of other IDs that buyers are interested in leveraging, ID5, they also
                                                      have -- Ramp has their own ID – or LiveRamp has their own ID.
                                                      Trade Desk has their own ID. There’s a host of other IDs that are
                                                      out there and we’re making our platform compatible and working
                                                      with five of the other ones . . . . So, we’re doing integrations
                                                      currently with each of those and starting to test out by capabilities
                                                      on all those so that we’re prepared for 2024.
                                                      So the way that we’re actually looking at it—I think the whole
                                                      industry is looking at it—it’s a wait and see approach, but we’re
                                                      being proactive and starting to make that transition because it’s a
                                                      definite that it’s going to be here this time.2




2
  The CC alters Defendant Walker’s quote to “we actually during the month[s] of November [and] December have actually started working on that.” CC ¶ 102
(alterations in original). This appendix uses a video recording to transcribe Defendant Walker’s statement without editorializing. See https://www.youtube.com/
watch?v=KPxN7R1zHc0&t=17s at 7:00–8:53.


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CS    CC ¶    Date        Source                        Challenged Statement (“CSs”)                              Reasons Not
No.                                                                                                               Actionable
 8    103    12/5/23   2023 Noble      Based upon that growth and how historically we have been able to         No actionable
                       Capital         perform year over year, our expectation is that we were able to           omission
                       Markets 19th    raise guidance to about 170 to 190 million of top line revenue and
                                                                                                                Non-actionable
                       Annual          we expect for us to be within that range as the guidance that we
                                                                                                                 opinion
                       Emerging        had given out to the public.
                       Growth                                                                                   Forward-looking
                       Equity                                                                                    statement
                       Conference
 9    105    1/9/24    2024 ICR        I think one of the things that our company has done is we’ve been        No false statement
                       Conference      prepping for this for the last year and specifically in Q4 we             of fact
                       Fireside Chat   started taking steps to automatically change our platform to
                                                                                                                No actionable
                                       adjust for this change which is coming on in six months. So,
                                                                                                                 omission
                                       through the next-- from now until it actually occurs in the middle of
                                       Q3 we’re going to be prepared for that and those are some of the
                                       changes we are actually making today.
10    106    1/9/24    2024 ICR        This year we were able to raise and beat guidance and we’re              No actionable
                       Conference      projected to be somewhere in the hundred-- the guidance we give           omission
                       Fireside Chat   is 170 to 190 million of top line revenue grow. Um, so with that
                                                                                                                Non-actionable
                                       we’ve been able to grow and I think the market has finally started
                                                                                                                 opinion
                                       catching up with our story.
                                                                                                                Forward-looking
                                                                                                                 statement




                                                            5
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CS    CC ¶    Date        Source                        Challenged Statement (“CSs”)                             Reasons Not
No.                                                                                                              Actionable
11    108    2/1/24    Pulse 2.0       [Pulse 2.0:] What have been some of the company’s most                  No allegation when
                       Interview       significant milestones?                                                  Walker made
                                       [Defendant Walker:] “As we execute on our robust growth strategy         statement
                                       supported by key technological capabilities, our rapid growth, as       No actionable
                                       evidenced by our strong earnings results in recent quarters, has         omission
                                       been really exciting. A significant milestone for the team was
                                       crossing $100 million in revenues in, and, importantly, just in Q3      Non-actionable
                                       we raised our guidance again to a range of $170 million to $190          opinion
                                       million for FY 2023. We believe we are just getting started as we       Forward-looking
                                       continue to invest in our technology and infrastructure.                 statement
12    111    3/26/24   Press Release   Although performance in the fourth quarter was not as strong as we      No false statement
                       re Q4 2023      initially expected due to proactive measures we are taking in the        of fact
                       and FY 2023     face of changing macro industry trends, we are confident our
                                                                                                               No actionable
                       Financial       company is in a position to build on the successes of 2023, expand
                                                                                                                omission
                       Results         on emerging channel and inorganic growth opportunities and
                                       continue our strong revenue growth and market share gains in            Puffery
                                       2024.
                                                                                                               Non-actionable
                                                                                                                opinion




                                                            6
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CS    CC ¶    Date        Source                        Challenged Statement (“CSs”)                             Reasons Not
No.                                                                                                              Actionable
13    113    3/26/24   Earnings Call   While we saw strong growth in Q4 2023 year-over-year with               No false statement
                       re Q4 2023      revenue of $41 million, which was 33% higher than the same               of fact
                       and FY 2023     period last year, we were down sequentially from Q3 with Q4
                                                                                                               No actionable
                       Financial       revenue, which was shy of our revised guidance due to two primary
                                                                                                                omission
                       Results         factors. In the fourth quarter, based upon value change changes,
                                       it became clearer cookie deprecation would begin at Q1 2024. In         Non-actionable
                                       addition, we noted softer demand that our revised guidance called        opinion
                                       for. As such, our team proactively began our transition off of
                                       cookies for media transactions. As a result, we believe our
                                       strategic decision to accelerate our investments has positioned us
                                       well for the future and ahead of our peers.
                                       In addition, in Q4, we did our complete beta testing on our
                                       original schedule for several strategic publishers, including
                                       Dotdash Meredith, Weather.com, NBCU and Arete Group, which
                                       would have increased overall the pressure count. These strategic
                                       publishers have all been launched in Q1 of 2024. We continue to
                                       prioritize long-term successes for short-term gain and we are
                                       confident the strategic measures in internal calibrations were
                                       made in Q4 2023 will position the company to build on the
                                       successes of 2023 and continue revenue growth and market share
                                       gains in 2024.
14    114    3/26/24   Earnings Call   As Mark mentioned, revenue for the fourth quarter of 2023 was           No false statement
                       re Q4 2023      lower than anticipated due to lower-than-anticipated demand, a           of fact
                       and FY 2023     delay in the release of Tier 1 publishers from beta testing and
                                                                                                               No actionable
                       Financial       proactive efforts by the company during the fourth quarter to
                                                                                                                omission
                       Results         accelerate the transition towards a cookie-less advertising
                                       platform.




                                                            7
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CS    CC ¶    Date        Source                         Challenged Statement (“CSs”)                               Reasons Not
No.                                                                                                                 Actionable
15    115    3/26/24   Earnings Call   Yeah. I would say the softer demand was a combination of the               No false statement
                       re Q4 2023      change that we saw with making the transition over cookies
                                                                                                                  No actionable
                       and FY 2023     because of the platform impact that we actually had in Q4. And
                                                                                                                   omission
                       Financial       we also saw it being lighter going into the holiday season. So it was
                       Results         a combination of both as it relates to Q3.
16    118    5/10/24   CampaignUS      “The financial solvency of our company is very sound,”                     No allegation of
                       Article         [Defendant Walker] said, adding that it remains profitable, and its         defendant control
                                       first-quarter performance was “up 20% year over year.”                      over paraphrasing
                                                                                                                  No false statement
                                                                                                                   of fact
                                                                                                                  Non-actionable
                                                                                                                   opinion
17    119    5/10/24   CampaignUS      “Unfortunately, we believe that there has been a concerted effort to       No false statement
                       Article         seek financial gain by attempting to discredit the performance and          of fact
                                       operations of DDH. To be clear, DDH remains operationally well-
                                                                                                                  Puffery
                                       positioned and financially strong with estimated 2023 FY earnings
                                       of $157 million and is experiencing continued growth into 2024.            Non-actionable
                                       We maintain a solid financial relationship with our partners and            opinion
                                       are committed to continuous improvement and strengthening our
                                       products and services.




                                                            8
